Case 2:15-cv-04113-PSG-JEM Document 76 Filed 03/03/16 Page 1 of 11 Page ID #:1632

                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES - GENERAL
 Case No.       CV15-4113 PSG (JEMx)                                        Date   March 3, 2016
 Title          Stace Cheverez v. Plains All American Pipeline, LP




 Present: The Honorable        Philip S. Gutierrez, United States District Judge
                   Wendy Hernandez                                          Not Reported
                      Deputy Clerk                                         Court Reporter
            Attorneys Present for Plaintiff(s):                  Attorneys Present for Defendant(s):
                       Not Present                                           Not Present
 Proceedings (In Chambers):           Order GRANTING Plaintiffs’ Motion for an Order Limiting
                                      Defendants’ Communications with Plaintiffs and Class
                                      Members and for Other Relief Pursuant to Federal Rule of Civil
                                      Procedure 23(d)

       Before the Court is Plaintiffs’ motion for an order limiting Defendants Plains All
American Pipeline, L.P. and Plains Pipeline, L.P’s (together, “Defendants”) communications
with Plaintiffs and putative class members and for other relief pursuant to Fed. R. Civ. P. 23(d).
Dkt. # 52. The Court heard oral argument on the matter on February 29, 2016. After
considering the arguments made at the hearing, as well as the moving, opposing and reply
papers, the Court GRANTS Plaintiffs’ motion.

I.       Background

       On May 19, 2015, a 24-inch pipeline operated by Defendants ruptured, releasing crude oil
onto Refugio State Beach in Santa Barbara County. As required by the Oil Pollution Act of
1990 (“OPA”), 33 U.S.C. §§ 2701-2761, Defendants immediately established a claims process to
provide interim and short-term damages to individuals and businesses affected by the spill. See
Dkt. # 58-3, Declaration of William R. Warne [“Warne Decl.”] ¶ 3. Defendants retained Worley
Catastrophe Response (“Worley”), an experienced claims management company, to administer
the OPA-mandated claims process.

       A number of class action complaints were filed with this Court beginning on June 1,
2015. On June 6, 2015, Plaintiffs’ counsel sent Defendants a letter requesting that Defendants
notify spill victims of the pending class actions when administering OPA claims. Id. ¶ 4.
Counsel for the parties spent several months communicating about a possible stipulation
regarding communication with spill victims, but were ultimately unable to come to an
agreement. Id. ¶¶ 4-19.


CV-90 (10/08)                                CIVIL MINUTES - GENERAL                               Page 1 of 11
Case 2:15-cv-04113-PSG-JEM Document 76 Filed 03/03/16 Page 2 of 11 Page ID #:1633

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
    Case No.    CV15-4113 PSG (JEMx)                                 Date   March 3, 2016
    Title       Stace Cheverez v. Plains All American Pipeline, LP

        Since the spill, Defendants have notified victims of the claims process using online and
print advertisements. Dkt. # 52-2, Declaration of Matthew Preusch [“Preusch Decl.”], Exs. 1-2.
Defendants’ advertisements state that they are “committed to doing the right thing,” including
“making the appropriate financial reparations for any verified damages or losses directly caused
by the spill.” Id. at Ex. 1. The advertisements encourage victims to “call the claims line” and
“visit [Defendants’] response site,” but do not mention the pending litigation or advise victims to
consult counsel before contacting Defendants. Id. at Exs. 1-4. Defendants also use online pop-
up advertisements to direct victims to their claims site. Id. at Exs. 3, 4. Once on the site, a
victim who clicks “Claims Information” is directed to a claim initiation form, which notifies
claimants that “[o]nce approved, valid claims are paid in conjunction with receiving a completed
release or interim release settlement agreement.” Id. at Ex. 5. The claim initiation form also
notifies victims that “[p]ayments are typically made within 10 business days following the
submission of all documentation.” Id. Like its advertisements, Defendants’ claim site does not
advise individuals to contact counsel before submitting a claim initiation form. Id.

       Initially, the settlement form which a victim was required to sign before receiving
payment made no reference to any pending class actions. See id. at Ex. 6 [“First Release”]. The
First Release noted that in consideration for the payment, the payee agreed to “RELEASE,
ACQUIT and FOREVER DISCHARGE [Defendants] of all Claims related to the above-
described Injuries.” Id. The First Release also contained a clause ensuring that the payee had
not assigned its claims to any third party. Id.

        After the Court consolidated the class actions, Plaintiffs filed a consolidated amended
class action complaint on December 15, 2015. Dkt. # 50. Defendants then revised their
settlement agreement and general release. See Warne Decl. Ex. K, ¶ D [“Second Release”]. The
Second Release notifies claimants of the name of the consolidated class action and states: “Payee
is informed and understands that Payee may be eligible to participate in the consolidated class
action, but instead has chosen to enter into this Agreement.” Id. The Second Release provides
that the payee “has been informed by his, her, or its attorney” that the payee is waiving Cal. Civ.
Code section 1542.1 Id. ¶ 4.2 In the middle of the third page, the Second Release notes that the
Payee “has either been represented by independent counsel who has fully explained this
Agreement; or has had an opportunity to become represented by independent counsel and has

1
  Section 1542 provides: “A general release does not extend to claims which the creditor does
not know or suspect to exist in his or her favor at the time of executing the release, which if
known by him or her must have materially affected his or her settlement with the debtor.” Cal.
Civ. Code § 1542.
2
  The Second Release contains two paragraphs labeled as paragraph 4. The provision mentioned
here is located in the first of the two paragraphs.
CV-90 (10/08)                             CIVIL MINUTES - GENERAL                           Page 2 of 11
Case 2:15-cv-04113-PSG-JEM Document 76 Filed 03/03/16 Page 3 of 11 Page ID #:1634

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       CV15-4113 PSG (JEMx)                                  Date   March 3, 2016
 Title          Stace Cheverez v. Plains All American Pipeline, LP

declined to become represented.” Id. ¶ 5a. The Release does not advise the payee to consult
with counsel before signing the release or explicitly notify the payee of his right to do so. See id.

II.      Legal Standard

       Federal Rule of Civil Procedure 23(d) (“Rule 23(d)”) permits a court overseeing a class
action to issue orders which “determine the course of proceedings” or “impose conditions on the
representative parties.” Fed. R. Civ. P. 23(d). Because class actions “present opportunities for
abuse as well as problems for courts and counsel in the management of cases…a district court
has both the duty and the broad authority” to supervise communication between the parties and
potential class members. Gulf Oil Co. v. Bernard, 452 U.S. 89, 99-100 (1981).

       The court’s duty to supervise communications with potential class members exists even
before a class is certified. In re Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of
Mexico on Apr. 20, 2010, No. 10-md-02179, 2011 WL 323866, at *2. (E.D. La. Feb. 2, 2011).
Communications which are misleading “pose a serious threat to the fairness of the litigation
process, the adequacy of representation, and the administration of justice generally.” Id. at *7
(quoting In re School Asbestos Litigation, 842 F.3d 671, 680 (3d Cir. 1988)). Accordingly, a
court may “take action to cure the mis-communication and to prevent similar problems in the
future” where “potential class members have received inaccurate, confusing or misleading
communications.” Id. at *6. The court’s responsibility to monitor communications is
heightened where potential class members are unrepresented by their own counsel. Id.

        An order which limits communication between parties and potential class members
“should be based on a clear record and specific findings that reflect weighing of the need for
limitation and potential interference with rights of the parties.” Gulf Oil at 101-02. However,
“Rule 23(d) does not…require a finding of actual harm; it authorizes the imposition of a
restricting order to guard against the ‘likelihood of serious abuses.’” In re Asbestos Litig., 842
F.3d at 683.

III.     Discussion

       Plaintiffs request an order prohibiting Defendants from obtaining improper releases from
Plaintiffs and putative class members; invalidating the releases Defendants have already
obtained; prohibiting misleading communications with Plaintiffs and putative class members;
and requiring Defendants to issue corrective notices disclosing the existence of this action. Mot.
2. Finally, Plaintiffs seek discovery of any releases Defendants have obtained or will obtain
from putative class members, including settlement agreements and records of communications


CV-90 (10/08)                             CIVIL MINUTES - GENERAL                            Page 3 of 11
Case 2:15-cv-04113-PSG-JEM Document 76 Filed 03/03/16 Page 4 of 11 Page ID #:1635

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       CV15-4113 PSG (JEMx)                                 Date   March 3, 2016
 Title          Stace Cheverez v. Plains All American Pipeline, LP

made to such individuals in the context of negotiating such releases. Id. Defendants do not seek
to limit Defendants’ contact with putative class members altogether.

        Plaintiffs argue that Court supervision is warranted because Defendants are using the
OPA claims process to disadvantage the putative class and shrink their own liability.
Specifically, Plaintiffs argue that Defendants have induced class members to prematurely release
their claims through a campaign which “mislead[s] class members regarding the nature of the
OPA process and the existence of the class action or other rights.” Mot. 5. Plaintiffs challenge
Defendants’ direct communication with putative class members, advertisements and releases as
misleading.

                 i.     Direct Contact with Putative Class Members

        Plaintiffs first allege that Defendants have impermissibly initiated contact with putative
class members. However, Plaintiffs’ only evidence is a statement from Plaintiff Michael
Gandall (“Gandall”) that in late September, he received an “unsolicited” call on his cell phone
from a Worley representative, followed by several subsequent communications. See Mot. 4-5;
Dkt. # 52-3, Declaration of Mike Gandall ISO Motion, ¶ 3. Defendants defend, and Gandall
admits, that it was Gandall who initiated contact by calling the claims hotline and speaking with
a representative for half an hour on June 1, 2015. Dkt. # 58-1, Declaration of Don Cannon
[“Cannon Decl.”] ¶ 9; Dkt. # 62-2, Declaration of Mike Gandall ISO Reply, ¶¶ 4-6. Standing
alone, Worley’s efforts to follow up with Gandall are not impermissible. See Cannon Decl. ¶¶
11-15. Moreover, Defendants assure the Court that Worley does not cold call individuals or
businesses who may have been injured by the spill, and Plaintiffs have presented no factual basis
for the Court to doubt that assurance. Cannon Decl. ¶ 8.

       In their reply, Plaintiffs raise anew that Defendants’ direct communication with putative
class members has resulted in actual confusion. Plaintiffs submit evidence that during his initial
communication with Worley, the CFO of one local business believed he was communicating
with someone representing victims’ interests. See Dkt. # 62-3, Declaration of Fraser Kersey
ISO Reply. The Court need not consider arguments raised for the first time in a reply. See
Zamani v. Carnes, 491 F.3d 990, 997 (9th Cir. 2007). Moreover, the Court finds that evidence
irrelevant, because “Rule 23(d) does not…require a finding of actual harm; it authorizes the
imposition of a restricting order to guard against the ‘likelihood of serious abuses.’” In re
Asbestos Litig.¸842 F.2d at 683. Ultimately, as discussed below, the Court finds that
Defendants’ advertisements and settlement agreements are themselves likely to result in abuse of
the class action process.



CV-90 (10/08)                             CIVIL MINUTES - GENERAL                           Page 4 of 11
Case 2:15-cv-04113-PSG-JEM Document 76 Filed 03/03/16 Page 5 of 11 Page ID #:1636

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       CV15-4113 PSG (JEMx)                                 Date   March 3, 2016
 Title          Stace Cheverez v. Plains All American Pipeline, LP

                 ii.    Advertisements

       Plaintiffs criticize Defendants’ advertisements as contributing to a misleading campaign
because they do not advise claimants to seek advice of counsel before contacting the claims line.
Mot. 5. Plaintiffs further challenge the advertisements’ failure to mention the pending class
action or an individual’s right to obtain compensation through means other than the OPA claims
process. Mot. 4.

       Although the advertisements are not facially misleading, they raise suspicion that
Defendants are abusing OPA’s claims process to mislead claimants regarding the full scope of
their potential recovery. OPA requires that within 15 days of a spill, the responsible party must
advertise its designation as the responsible party and the procedures by which claims may be
presented. 33 U.S.C. § 2714(b)(1). OPA explicitly requires those advertisements to state that
“claimants may bring a claim for interim, short term damages representing less than the full
amount of damages to which the claimant may ultimately be entitled” and “payment of such a
claim shall not preclude recovery for damages not reflected in the paid or settled partial claim.”
33 U.S.C. § 2714(b)(2).

        Defendants’ advertisements do not comply with OPA. The advertisements omit any
reference to the claims process as a vehicle for short-term damages or any indication that victims
may have a right to recover more than the claims process can provide. Because the Court is not
assessing OPA claims, its duty falls short of forcing Defendants to amend their advertisements
so as to comply with the OPA’s explicit requirements. However, the Court does have a duty
under Rule 23(d) to limit advertisements which are misleading. Defendants assert that they have
“extensively advertised the availability of the statutory claims process…[i]n an effort to comply
with OPA…and in furtherance of [their] commitment to resolving all valid claims,” but that
assertion is undermined by Defendants’ blatant disregard for OPA’s express requirements. Opp.
7. Put plainly, the Court is unpersuaded that the purpose of Defendants’ advertisements is to
comply with OPA because those advertisements do not comply with OPA. Instead, the Court
finds that Defendants’ advertisements are part of a misleading campaign to steer putative class
members towards unknowingly waiving their rights.

                 iii.   Settlement Agreements and Releases

        The settlement agreements themselves establish the likelihood that the fairness of the
litigation process has been compromised. See Deepwater Horizon , 2011 WL 323866 at *2.
Defendants have used two different releases in advertising their claims process: one before the
Court consolidated the class actions, and one after. The First Release altogether failed to
mention any pending class action. See First Release. Although Plaintiffs did not file their
CV-90 (10/08)                             CIVIL MINUTES - GENERAL                           Page 5 of 11
Case 2:15-cv-04113-PSG-JEM Document 76 Filed 03/03/16 Page 6 of 11 Page ID #:1637

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       CV15-4113 PSG (JEMx)                                 Date   March 3, 2016
 Title          Stace Cheverez v. Plains All American Pipeline, LP

consolidated first amended complaint until December, class actions were filed in this case as
early as June 1, 2015. See Dkt. # 1. Plaintiffs’ counsel notified Defendants to the existence of
these class actions on June 6, 2015. Warne Decl. ¶ 4. The First Release was misleading because
it failed to notify victims that these class actions existed. See Burford v. Cargill, No. 05-0283,
2007 WL 81667, at *2 (W.D. La. 2007) (“[u]se of [a] general receipt and release…by [a]
Defendant in regards to putative class members, without notification of the pending putative
class action, is misleading as a matter of law”); see also Friedman v. Intervet Inc., 730
F.Supp.2d 758, 762-63 (N.D. Ohio 2010) (holding that “[a] defendant’s failure to mention even
an uncertified class action in securing settlements or releases from putative class members may
be ‘misleading’”) (collecting cases).

       Although the Second Release notifies victims that a consolidated class action exists, it
does not provide additional information, such as an explanation of the Plaintiffs’ claims or the
contact information for Plaintiffs’ counsel. Courts routinely hold that releases are misleading
where they do not permit a putative class member to fully evaluate his likelihood of recovering
through the class action. See County of Santa Clara v. Astra USA, Inc., No. C 05-03740 WHA,
2010 WL 2724512, at *4 (N.D. Cal. July 8, 2010) (invalidating an accord and satisfaction which
precluded participation in a class action where the letter accompanying the check only included
the name of the case and an explanation that it was a putative class action; defendant “was
required to provide enough information so that recipients would not be misled about the strength
or extent of the [class] claims”); Camp v. Alexander, 300 F.R.D. 617, 625 (N.D. Cal. Apr. 15,
2014) (ex parte solicitation for opt-outs was misleading where it “omitted key information, such
as contact information for plaintiffs’ counsel and a full description of the claims or the
complaint”); c.f. Eshelman v. OrthoClear Holdings, Inc., No. C 07-01429 JSW, 2007 WL
2572349 at *3 (N.D. Cal. Sept. 4, 2007) (court did not find intervention necessary because
defendant enclosed the class action complaint with releases mailed to putative class members, so
that putative class members knew this would not be their only opportunity to collect on their
claims).

        Instead, the Second Release names the consolidated class action, defines the proposed
class, and states that “Payee is informed and understands that Payee may be eligible to
participate in the consolidated class action, but instead has chosen to enter into this Agreement.”
Second Release. By suggesting that recovery through the claims process is mutually exclusive
from recovery through the consolidated class action, Defendants portray the processes as fair
alternatives to one another. They are not. Whereas a victim can recover long-term damages
under a variety of state claims by participating in the class action, the compensation he receives
through Defendants’ claims process is capped at the damages he was able to prove at the time he
submitted a claim. Defendants have an obligation not to conceal the difference between
participating in the class action and accepting short-term payment through the claims process.
CV-90 (10/08)                             CIVIL MINUTES - GENERAL                           Page 6 of 11
Case 2:15-cv-04113-PSG-JEM Document 76 Filed 03/03/16 Page 7 of 11 Page ID #:1638

                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES - GENERAL
    Case No.     CV15-4113 PSG (JEMx)                                    Date   March 3, 2016
    Title        Stace Cheverez v. Plains All American Pipeline, LP

See Santa Clara, 2010 WL 2724512 at *4 (defendant’s release “should not have concealed
material information,” and “at a minimum should have explained…how closely [defendant’s
settlement] calculations aligned with plaintiff’s allegations”).

       Moreover, Congress did not intend that OPA force victims to choose between partial
payment now and full payment later. In mandating that the responsible party make immediate
payments to spill victims, Congress expressly preserved the victim’s right to recover more than
the short-term damages provided through the OPA claims process. OPA states:

            The responsible party shall establish a procedure for the payment or settlement of claims
            for interim short-term damages. Payment or settlement of a claim for interim-short
            term damages representing less than the full amount of damages to which the claimant
            ultimately may be entitled shall not preclude recovery by the claimant for damages not
            reflected in the paid or settled partial claim.

33 U.S.C. § 2705(a) (emphasis added). Elsewhere throughout the statute, Congress echoed its
intention to preserve a victim’s ability to recover fully for his injury. See 33 U.S.C. § 2715 (a
responsible party’s “payment of...a claim shall not foreclose a claimant’s right to recovery of all
damages to which the claimant otherwise is entitled...under any other law”); see also 33 U.S.C. §
2718 (“Nothing in this Act…shall affect…the authority of any State…from imposing any
additional liability…with respect to the discharge of oil”); see also United States v. Locke, 529
U.S. 89, 105 (2000) (“The evident purpose of the saving clauses is to preserve state laws
which...establish liability rules and financial requirements relating to oil spills.”). The inclusion
of these provisions suggests not only Congress’s expectation that oil spill victims would have
damages beyond those which are interim or short-term, but also its apprehension that responsible
parties would use OPA’s claims process to shield themselves from the full scope of their
liability. That is precisely what has occurred here.3

       Defendants have advertised their claims process by alleging that they are “committed to
doing the right thing,” including “making the appropriate financial reparations for any verified
damages or losses directly caused by the spill.” The advertisements do not inform victims that
those financial reparations represent only short-term damages, that there are class actions
pending, or that victims should consult a lawyer before contacting Defendants. If a victim clicks
on an ad or visits the claims site, he is presented with a claims initiation form and an assurance

3
  At oral argument, Defendants’ counsel suggested that the claims Defendants have been paying
through the claims process represent more than the short-term damages which a victim is entitled
to recover under OPA. That suggestion is in tension with Defendants’ own admission that
payments are made (or rejected) according to the proof of financial loss submitted with victims’
claims.
CV-90 (10/08)                              CIVIL MINUTES - GENERAL                              Page 7 of 11
Case 2:15-cv-04113-PSG-JEM Document 76 Filed 03/03/16 Page 8 of 11 Page ID #:1639

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
    Case No.    CV15-4113 PSG (JEMx)                                  Date    March 3, 2016
    Title       Stace Cheverez v. Plains All American Pipeline, LP

that he will be paid within 10 days of submitting documentation. If a victim calls the claims
line, Worley takes down that victim’s contact information and follows up repeatedly if no claim
is submitted. Once a claim is approved, Defendants state that they will pay victims within 10
days – so long as victims waive their right to participate in the uncertified class action, where the
certainty of any recovery is presented as murky at best. At no point is the victim informed about
the OPA claims process, the details surrounding the class litigation, or the difference between
the short-term damages available through the former and the long-term damages available
through the latter.

        The Court finds that Defendants are engaged in misleading conduct by using the OPA
claims process – a process intended to compensate oil spill victims – to steer those victims
towards unwittingly waiving their rights to full recovery. See Deepwater Horizon, 2011 WL
323866 at *8 (requiring defendants to “[f]ully disclose to claimants their options under OPA if
they do not accept a final payment [through the OPA claims process], including filing a claim in
the pending…litigation”); see also Santa Clara, 2010 WL 2724512 at *4 (finding that letter was
misleading where putative class members were “unable to make an informed choice about
whether to accept the settlement payment”). At no point throughout the process do Defendants
expressly advise victims to consult with counsel before releasing their claims. Although
Defendants bury references to claimants being represented by counsel in the second and third
pages of the Second Release, they do little to ensure that victims have consulted with counsel –
or at least considered the importance of doing so – before broadly waiving their claims.
Defendants’ failure to advise victims that they should consult with an attorney or to emphasize
their right to do so convinces the Court that a likely result of Defendants’ misleading conduct
has been the premature release of claims by putative class members who do not fully
comprehend their rights. See Deepwater Horizon, 2011 WL 323866 at *12 (noting how the
nature of the claims process can “[lead] to confusion and misunderstanding by claimants,
especially those who are unrepresented by their own counsel” and ordering defendant to begin
any communication with a putative class member with a statement that the individual has a right
to consult an attorney before accepting settlement); see also Georgine v. Amchem Prods., Inc.,
160 F.R.D. 478, 498 (E.D. Penn. Feb. 28, 1995) (“[C]ourts have recognized that the extent of
harm resulting from a campaign to solicit opt-outs cannot be quantified with any precision, and
hence the Court must make its best estimate, taking into account the likely effect of the
solicitation program based on its nature.”).

       Defendants’ actions are all the more suspicious in light of their own representation that
continuing the process will foreclose the need for a class action.4 See Dkt. # 51. Defendants
have used a statutorily-mandated process which explicitly preserves a victim’s claims to pick off
4
 Defendants made this representation in moving to stay the case pending resolution of the
administrative claims process. See Dkt. # 51.
CV-90 (10/08)                             CIVIL MINUTES - GENERAL                             Page 8 of 11
Case 2:15-cv-04113-PSG-JEM Document 76 Filed 03/03/16 Page 9 of 11 Page ID #:1640

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       CV15-4113 PSG (JEMx)                                 Date   March 3, 2016
 Title          Stace Cheverez v. Plains All American Pipeline, LP

unrepresented victims in hopes of defeating numerosity down the line. The Court finds that
Defendants’ misleading actions clearly frustrate the purpose of Rule 23. The Court therefore
invalidates the releases, to the extent they purport to immunize Defendants from paying full
compensation to injured class members. See Santa Clara, 2010 WL 2724512 at *4 (release was
invalid under Rule 23 where it was sent “after the litigation arose – and while [defendant] knew
good and well that a Rule 23 certification was still on the table” because “to rule otherwise
would allow defendants to shift control of one proceeding from the district judge to the defense
counsel”); see also Camp, 300 F.R.D. at 626 (invalidating opt-out declarations obtained ex parte
before class certification and requiring corrective notice because “obtaining opt-out forms ex
parte at this stage of the litigation – before a class has been certified by the Court –
unquestionably frustrates the purpose of Rule 23”) (citations and internal quotation marks
omitted); Friedman, 730 F.Supp.2d at 767 n. 8 (noting that nullifying releases can be appropriate
where the number of releases obtained under misleading circumstances is capable of frustrating
the numerosity requirement of class actions).
        Additionally, Defendants are ordered to provide curative notice informing claimants of
their right to participate in the litigation. See Fed. R. Civ. P. 23(d)(1)(B) (“to protect class
members and fairly conduct the action,” a court may issue orders that “require…giving
appropriate notice to some or all class members of any step in the action”). Defendants are also
prohibited from engaging in misleading communications with putative class members.
Specifically, Defendants may not obtain further releases without explicitly notifying Plaintiffs
that this class action is pending, including a description of the claims, and expressly advising
class members to seek the advice of counsel before waiving any claims. The Court finds these
cures necessary to guard against the likelihood that the class action process has been abused. In
re Asbestos Litig., 842 F.3d at 683.

       In contrast to the likely harm which the putative class will suffer if the releases are
allowed to stand, Defendants are not seriously disadvantaged by their invalidation. See Gulf Oil,
452 U.S. at 101-02. Because double recovery is not permitted, the Court leaves open the
possibility that Defendants’ total damages amount will be credited for payments they have
already made pursuant to the claims process. See In re Oil Spill by the Oil Rig “Deepwater
Horizon” in the Gulf of Mexico, on April 20, 2010, 910 F.Supp.2d 891, 950 (E.D. La. Dec. 21,
2012) (concluding that a “fair and reasonable method to avoid double compensation” was to
deduct claim payments from payments received through the court- supervised settlement
process). Moreover, Defendants’ efforts to continue resolving claims will not be frustrated
because Defendants are not prohibited from contacting putative class members altogether.
Defendants are only prohibited from doing so in a way which is misleading.

       Finally, the Court addresses the point, raised by Defense counsel at oral argument, that
invalidating the releases will dissuade future defendants from compensating victims without
CV-90 (10/08)                             CIVIL MINUTES - GENERAL                           Page 9 of 11
Case 2:15-cv-04113-PSG-JEM Document 76 Filed 03/03/16 Page 10 of 11 Page ID #:1641

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       CV15-4113 PSG (JEMx)                                  Date   March 3, 2016
 Title          Stace Cheverez v. Plains All American Pipeline, LP

court involvement. To the extent Defendants mean that responsible parties will abstain from
paying claims for short-term damages to oil spill victims, Defendants’ threats are empty because
responsible parties under OPA do not have that discretion. OPA legally obligates responsible
parties to pay victims short-term damages, and responsible parties cannot shirk that obligation
out of fear that they will later be forced to answer for the full extent of their liability. If
Defendants mean that defendants in general will be dissuaded from settling claims, that
argument lacks merit. Responsible parties should not be dissuaded from settling claims, but
encouraged to do so in an honest manner with fully informed claimants. To be clear, the Court
does not invalidate Defendants’ releases merely because they represent a partial settlement of the
putative class members’ claims. The Court invalidates the releases because Defendants obtained
them by denying Plaintiffs information and representation to which they were entitled. Gonzalez
v. Preferred Freezer Serv’s LBF, LLC, CV12-03467-ODW (FMOx), 2012 WL 4466605, at *1
(C.D. Cal. Sept. 27, 2012) (noting that although settlements are “usually encouraged,” “public
policy demands that potential plaintiffs receive appropriate notice before entering into any
release agreement”).

      Because the Court finds this relief sufficiently curative, Defendants are not ordered to
amend their advertisements or to provide Plaintiffs with special discovery of their
communications with putative class members, beyond that which they would be able to seek
through ordinary discovery.

IV.      Conclusion

       For the foregoing reasons, Plaintiffs’ motion is GRANTED. The Court orders the
following:

       Releases purporting to immunize Defendants from paying full compensation to injured
        class members are invalidated;

       Defendants will provide curative notice to that effect to claimants who signed such a
        release;

       Defendants are prohibited from engaging in misleading communications with putative
        class members, including obtaining releases without (1) notifying claimants that this class
        action is pending and describing the claims asserted within it; and (2) expressly advising
        claimants to seek the advice of counsel before waiving any claims.

Because the Court finds that this relief sufficiently curative, the Court DENIES Plaintiffs’
request for:
CV-90 (10/08)                             CIVIL MINUTES - GENERAL                            Page 10 of 11
Case 2:15-cv-04113-PSG-JEM Document 76 Filed 03/03/16 Page 11 of 11 Page ID #:1642

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       CV15-4113 PSG (JEMx)                                 Date   March 3, 2016
 Title          Stace Cheverez v. Plains All American Pipeline, LP

     Defendants to alter their advertisements; and

     Special discovery.

         IT IS SO ORDERED.




CV-90 (10/08)                             CIVIL MINUTES - GENERAL                           Page 11 of 11
